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UNITED STATES DISTRICT COURT
DISTRICT OF COLUMBIA
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RUTH SCHWARTZ, et al.                                 :
                                                      :    Case No. 18-cv-1349 (RDM)
                                    Plaintiffs,       :
                                                      :
                  -against-                           :
                                                      :
ISLAMIC REPUBLIC OF IRAN,                             :
                                                      :
                                    Defendant.        :
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            PLAINTIFFS’ STATUS REPORT IN RESPONSE TO THE COURT’S
                            OCTOBER 2, 2019 ORDER

         Pursuant to the Court’s October 2, 2019 Order, Plaintiffs respectfully submit this status

report proposing that they offer evidence to support their motion and proposed findings of fact and

conclusions of law by November 30, 2019.

         The two liability-related expert reports (establishing that HAMAS committed the attack

and that Iran provided it with material support during the relevant period) have been completed.

Plaintiffs’ counsel are working closely with each Plaintiff to finalize their declarations.

Dated: October 3, 2019

                                                           Respectfully submitted,

                                                           OSEN LLC

                                                      By       /s/ Ari Ungar
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